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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

    UNITED STATES OF AMERICA,

                 Plaintiff,

    -vs-                                 Case No. 15-cr-20652
                                         HON. GEORGE CARAM STEEH
    (D-13) ARLANDIS SHY, II,

              Defendant.
    _____________________________________________________________

              DEFENDANT SHY’S MOTION IN LIMINE
     TO PRECLUDE CO-DEFENDANT (D-4) COREY BAILEY’S VIDEO
                   RECORDED STATEMENTS

           Defendant moves this Honorable Court to preclude admission of co-

    defendant Bailey’s video recorded statements because admitting those

    statements would violate Defendant’s right to Confrontation and Due

    Process under the Fifth and Sixth Amendments to the US Constitution.

                                         Respectfully submitted,
    Date: June 17, 2018
                                         By: s/Mark H. Magidson
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                     BRIEF IN SUPPORT OF
              DEFENDANT SHY’S MOTION IN LIMINE
     TO PRECLUDE CO-DEFENDANT (D-4) COREY BAILEY’S VIDEO
                   RECORDED STATEMENTS



                                       FACTS


          This complex mega case involving six defendants is set for trial June

    19, 2018. Defendant Shy has been in custody pending trial without bond

    since March 2, 2016.

          On June 12, 2018, the defense attorneys were allowed to view the

    government’s exhibits for trial. However, at that time, there was no

    government exhibit 344 A-G, which refers to eight video recordings of co-

    defendant Corey Bailey talking to federal agents. Those videos were finally

    disclosed on June 14, 2018.

          In those videos, Bailey confirms that the Seven Mile Bloods (SMB) is

    an organization, or “enterprise” for RICO purposes; he states that there are

    about six core group of members—the number of co-defendants being tried

    in this Trial Group 2; and Bailey states that he knows that the victims in this

    Indictment were shot and killed by SBM members.

          Bailey’s statements confirm the government’s theory of this case.




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          The defense does not know what theory the government is relying on

    to introduce this evidence, so the defense will address the likely ground that

    the government will rely on for admission.


                                    ARGUMENT


          Under the Federal Rules of Evidence, a statement offered against an

    opposing party that was made by a coconspirator during and in the

    furtherance of the conspiracy is an exception to the hearsay rule. Fed. R.

    Evid. 801(d)(2)(E).

          The government has the burden of showing by a preponderance of the

    evidence that the (1) the conspiracy existed; (2) the defendant was a member

    of the conspiracy; and (3) the co-conspirator's statements were made in

    furtherance of the conspiracy. See United States v. Enright, 579 F.2d 980,

    986 (6th Cir. 1978); United States v. Wilson, 168 F.3d 916, 920 (6th Cir.

    1999).

          The government cannot show that Bailey’s statements were made in

    furtherance of the conspiracy. Bailey was in custody and under arrest at the

    time he made the statements.

          Hearsay statements made by an alleged co-conspirator after his arrest

    are generally inadmissible against all but the declarant. Lutwak v. United



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    States, 1953, 344 U.S. 604, 618, 73 S. Ct. 481, 97 L. Ed. 593; Hamilton v.

    United States, 1970, 139 U.S. App. D.C. 368, 433 F.2d 526, 530, cert.

    denied, 402 U.S. 944, 91 S. Ct. 1612, 29 L. Ed. 2d 112.

          A person's role in a conspiracy ends with his arrest. United States v.

    Harrell, 436 F.2d 606, 613 (5th Cir. 1970), cert. denied, 409 U.S. 846, 93 S.

    Ct. 49, 34 L. Ed. 2d 86.

          Under Crawford v. Washington, 541 U.S. 36, 124 S. Ct. 1354, 158 L.

    Ed. 2d 177 (2004), the admission of testimonial hearsay against a defendant

    is prohibited unless the declarant is unavailable to testify at trial and the

    defendant had a prior opportunity to cross-examine him. Id. at 68; and see

    United States v. Meises, 645 F.3d 5, 19 (1st Cir. 2011).

          In Bruton v. U.S., 391 U.S. 123, 88 S.Ct. 1620 (1968), the US

    Supreme Court held that the admission of a confession of a codefendant who

    did not take the stand deprived the defendant of his rights under the Sixth

    Amendment Confrontation Clause, when that confession implicated the

    defendant. Id. at 136-137. Even when the jury is instructed to consider the

    confession only against the declarant, the Court in Bruton determined that

    the danger of misuse of the confession by the jury was too great to be

    constitutionally permissible. Id.; Schneble v. Florida, 405 U.S. 427, 429-430

    (1972).



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          The Bruton Court stated the following:

           Here the introduction of Evans' confession posed a substantial threat
           to petitioner's right to confront the witnesses against him, and this is a
           hazard we cannot ignore. Despite the concededly clear instructions to
           the jury to disregard Evans' inadmissible hearsay evidence
           inculpating petitioner, in the context of a joint trial we cannot accept
           limiting instructions as an adequate substitute for petitioner's
           constitutional right of cross-examination. The effect is the same as if
           there had been no instruction at all. [Bruton, 391 U.S. at 136-137.]


          Just as in Bruton, a limiting instruction will not cure the prejudice to

    Defendant Shy in this case. Bailey’s recorded statements completely support

    the government’s case against Defendant Shy and the other co-defendants.

          Bailey’s out of court statements support the allegation that there is an

    organization known as the Seven Mile Bloods, which has a structure and

    purpose. Bailey talks about the shootings of the named victims in the

    Indictment in this case. Bailey states that there are about six core group of

    members—the actual number of co-defendants being tried in this Trial

    Group 2. And Bailey was in custody when he made those statements.

          Bailey’s statements were not made in the furtherance of the

    conspiracy—because he was in custody—which means that they are not an

    exception to the hearsay rule under FRE 801(d)(2)(E).




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          Admission of Bailey’s statements also violates the holdings in

    Crawford and Bruton because the defense did not have a prior opportunity to

    cross examine Bailey about those statements.

          Also, the Bruton decision rested on the belief that regardless of what

    instructions they received, jurors could not be relied on to disregard a co-

    defendant's statements or confession when considering the guilt or

    innocence of a co-defendant. Bruton, 391 U.S. at 136-137; Rogers v.

    McMackin, 884 F.2d 252, 254 (6th Cir. 1989).



                                   CONCLUSION

          The only remedy is to either exclude co-defendant Bailey’s recorded

    statements from trial to protect Defendant’s Sixth Amendment right to

    Confrontation under Crawford and Bruton, or sever Bailey from Trial Group

    2 and try him separately.

          Defense counsel does not have personal knowledge about the

    circumstances of Bailey’s video recordings or whether the government made

    an agreement not to use them at trial, but that allegation seems likely

    because there is no basis for admitting those videos at trial against the co-

    defendants. The only way this evidence can be admitted is against Bailey,

    only, and not in this trial with Mr. Shy.



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          The way this evidence was disclosed establishes another example of

    the government’s pattern and practice of deception, unfair dealing, and late

    massive discovery dumps compromising Mr. Shy’s rights to a fair trial.



          WHEREFORE, Defendant moves this Honorable Court to preclude

    admission of co-defendant Corey Bailey’s recorded statements at trial or to

    sever him from Trial Group II and allow him to have a separate trial.

                                           Respectfully submitted,
    Date: June 17, 2018
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                           CERTIFICATE OF SERVICE


          I certify that on June 17, 2018, I electronically filed the above Motion

    with the Clerk of the Court using the CM/ECF system, which will send

    notification of such filing to the parties of record.



                                             By: s/Mark H. Magidson
                                             MARK H. MAGIDSON (P25581)
                                             Attorney for Defendant Shy (D-13)




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